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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO.19-06407-SNOW


 UNITED STATES OF AMERICA,

       Plaintiff,

 vs.

 JOSE ANIBAL LINARES,

       Defendant.
                                    /

   DEFENDANT=S INVOCATION OF RIGHT TO SILENCE AND COUNSEL


       The defendant named above does hereby invoke his rights to remain silent

 and to counsel with respect to any and all questioning or interrogation, regardless of

 the subject matter, including, but not limited to: matters that may bear on or relate

 to arrest, searches and seizures, bail, pretrial release or detention, evidence at trial,

 guilt or innocence, forfeitures; or that may be relevant to sentencing, enhanced

 punishments, factors applicable under the U.S. Sentencing Guidelines, restitution,

 immigration status or consequences resulting from arrest or conviction; appeals or

 other post-trial proceedings.

       The defendant requests that the U.S. Attorney ensure that this invocation of

 rights is honored, by forwarding a copy of it to all law enforcement agents,

 government officials, or employees associated with the investigation of any matters



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 relating to the defendant. Any contact with the defendant must be made through the

 defendant=s lawyer, undersigned counsel.



                                      Respectfully submitted,

                                      MICHAEL CARUSO
                                      FEDERAL PUBLIC DEFENDER



                                By:   s/ Timothy Day
                                      Assistant Federal Public Defender
                                      Florida Bar No. 360325
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                                      Fort Lauderdale, Florida 33301
                                      Tel: 954-356-7436,
                                      E-Mail: Timothy_Day@fd.org




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                            CERTIFICATE OF SERVICE

 I HEREBY certify that on August 26, 2019, I electronically filed the foregoing

 document with the Clerk of the Court using CM/ECF.           I also certify that the

 foregoing document is being served this day on all counsel of record via transmission

 of Notices of Electronic Filing generated by CM/ECF or in some other authorized

 manner for those counsel or parties who are not authorized to receive electronically

 Notices of Electronic Filing.



                             By:   s/ Timothy Day, AFPD
                                      Timothy Day




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